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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 LA UNION DEL PUEBLO ENTERO, et al.,             §
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              §
                                                      Case No. 5:21-cv-00844
                                                 §
 GREGORY W. ABBOTT, et al.,                      §
                                                 §
        Defendants.                              §


                         NOTICE OF APPEARANCE OF COUNSEL

       Defendants Gregory W. Abbott, in his official capacity as Governor of Texas; Jose A.

Esparza, in his official capacity as Deputy Secretary of State of Texas; and Warren K. Paxton, in

his official capacity as Attorney General of Texas (“State Defendants”), file this Notice of

Appearance of Counsel and hereby notify the Court that Patrick K. Sweeten will appear as counsel

in the above-captioned case along with counsel listed below. Mr. Sweeten is a member in good

standing with the State Bar of Texas and is authorized to practice in the Western District of Texas.

His contact information is as follows:

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Date: September 20, 2021                Respectfully submitted.

KEN PAXTON                              /s/ Patrick K. Sweeten
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BRENT WEBSTER                           Tex. State Bar No. 00798537
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                                        COUNSEL FOR STATE DEFENDANTS

                                   CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on September 20, 2021, and that all counsel of record were served by CM/ECF.

                                            /s/ Patrick K. Sweeten
                                            PATRICK K. SWEETEN




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